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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,
        v.
 JIN GUANGHUA,                                       Criminal Action No. 23-91-2 (CKK)
             Defendant.




                           MEMORANDUM OPINION & ORDER
                                  (January 8, 2025)

       At a recent status hearing in this matter, Defendant Jin Guanghua reported that he “intends

to proceed to trial swiftly,” indicated that he would object to proposed continuances, and requested

that the Court set a trial date. See Min. Order (Dec. 6, 2024). The Government “responded that

moving toward trial would be premature” because “this case is unusually complex due to the

volume of discovery, need for foreign witnesses, and complexity of the underlying facts.” Id. At

the Court’s order, the Government filed a [33] Motion for Exclusion of Time Under the Speedy

Trial Act (“Gov’t’s Mot.”). Jin then filed a [34] Response in Opposition to that motion (“Def.’s

Resp.”). Having considered the parties’ briefing, the present record, and the applicable law, the

Court now GRANTS the Government’s Motion and ORDERS that the Speedy Trial Act clock be

tolled for a period of 180 days beginning from January 10, 2025 due to the unusual complexity of

this matter. 18 U.S.C. § 3161(h)(7)(B)(ii).

                                       I. BACKGROUND

       In March 2023, a grand jury returned a 12-count indictment charging Jin—alongside Co-

Defendants Sim Hyon-Sop, Qin Guoming, and Han Linlin—with Conspiracy to Commit Bank

Fraud, in violation of 18 U.S.C. §§ 1344, 1349 (Count One); Conspiracy to Violate and Violations

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of the International Emergency Economic Powers Act, in violation of 50 U.S.C. § 1705(a) (Counts

Two through Six); and Conspiracy to Launder Monetary Instruments and Laundering of Monetary

Instruments, in violation of 18 U.S.C. §§ 1956(h), (a)(2)(A) (Counts Seven through Twelve).

Indictment, ECF No. 13. The gravamen of the Government’s allegations is that Jin and his Co-

Defendants engaged in a decade-long conspiracy to generate revenue for the Democratic People’s

Republic of Korea (“North Korea”) by procuring bulk shipments of raw tobacco to North Korean

state-owned entities for use in counterfeit cigarette trafficking and by helping these North Korean

entities illegally access the U.S. financial system to buy tobacco with U.S. dollars. See generally

id. Jin—a Chinese national and Australian resident—is alleged to have operated business entities

registered across the globe that served as intermediaries for these transactions and obfuscated the

true purpose of the tobacco shipments. Id. ¶¶47–52.

         Although the record is unclear on this point, Jin claims to have been arrested in Australia

sometime in 2023, where he was detained while awaiting extradition to the United States. See

Def.’s Resp. at 1–2. In September 2024, Jin was extradited to the United States and made his

initial appearance in this District before Magistrate Judge G. Michael Harvey. Min. Entry

(Sept. 30, 2024). Magistrate Judge Harvey ordered that Jin be detained. Id. Jin’s Co-Defendants

remain at large and are fugitives. See Reassignment Order, ECF No. 23.

                                                 II. DISCUSSION
         “The Speedy Trial Act requires that a criminal trial must commence within 70 days of the

latest of a defendant’s indictment, information, or appearance, barring periods of excludable

delay.” Henderson v. United States, 476 U.S. 321, 326 (1986). 1 The Act provides for several




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  Because the Speedy Trial Act is concerned with the latest of these dates, the relevant triggering date for purposes of
the Act in this case is September 30, 2024—the date Jin first appeared before a judicial officer in this District—not
the date of his indictment or the date of his detention in Australia prior to extradition. See Min. Entry (Sept. 30, 2024).

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“periods of delay” which “shall be excluded” from the calculation of a defendant’s 70-day

deadline. 18 U.S.C. § 3161(h). Among these is Section 3161(h)(7)(A), which applies when a

court finds that “the ends of justice served by taking such action”—that is, excluding time and

continuing pre-trial proceedings instead of moving to trial—“outweigh the best interest of the

public and the defendant in a speedy trial.”

           “The substantive balancing underlying” the decision whether to grant an excludable ends-

of-justice continuance “is entrusted to the district court’s sound discretion.” United States v. Rice,

746 F.3d 1074, 1078 (D.C. Cir. 2014). But the Act provides a non-exclusive list of factors that the

court “shall consider in determining whether to grant a continuance” under Section 3161(h)(7). 18

U.S.C. § 3161(h)(7)(B). Most relevant here is the consideration:

           Whether the case is so unusual or so complex, due to the number of defendants, the
           nature of the prosecution, or the existence of novel questions of fact or law, that it
           is unreasonable to expect adequate preparation for proceedings or for the trial itself
           within the time limits established by this section.

Id. § 3161(h)(7)(B)(ii). Based on the totality of the circumstances, the Court concludes that this

case is so unusual and complex due to the nature of this prosecution that it must toll Speedy Trial

time for 180 days beginning on January 10, 2025.

           First, the nature of this prosecution leaves the Court with a firm conviction that adequate

preparation for trial cannot occur on an ordinary timetable. This case concerns a decade-long

conspiracy involving four named co-conspirators, twelve counts, more than a dozen foreign

business entities, hundreds of relevant transactions using foreign bank accounts, and millions of

dollars.      See Gov’t’s Mot. at 1–5; see generally Indictment.                  Courts have invoked

Section 3161(h)(7)(B)(ii) in similarly complex matters—including over a defendant’s objection.

See United States v. Speight, 941 F. Supp. 2d 115, 118 (D.D.C. 2013) (JEB) (noting the case

involved        “an    allegedly    lengthy     and       far-reaching   conspiracy”    and    applying


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Section 3161(h)(7)(B)(ii) over defendant’s objection); United States v. Banks, 761 F.3d 1163,

1177 (10th Cir. 2014) (affirming application of Section 3161(h)(7)(B)(ii) in bank and mail fraud

prosecution where underlying charges “spanned several years . . . and implicated Defendants in

crimes involving forty-two companies”); United States v. Salad, 779 F. Supp. 2d 509, 513–14

(E.D. Va. 2011) (applying Section 3161(h)(7)(B)(ii) over defendant’s objection in multi-defendant

international piracy prosecution).

       Second, this case is particularly complex because it is likely to involve classified

information. The Government has “requested the appointment of a [Classified Information

Security Officer] CISO” and “anticipates filing a motion pursuant to the Classified Information

Procedures Act (CIPA), Section 4.” Gov’t’s Mot. at 2 n.1. “Although CIPA briefing does not

render a case complex or unusual per se, multiple courts hav[e] tolled Speedy Trial time on this

basis.” United States v. Raymond, 656 F. Supp. 3d 236, 240 (D.D.C. 2013) (CKK) (citing Salad,

779 F. Supp. 2d at 513; United States v. Warsame, No. 04-cr-29, 2007 WL 748281 (D. Minn.

Mar. 8, 2007)). The Court is presently unaware of the precise contours of CIPA briefing in this

matter. But bearing in mind that this case concerns alleged violations of sanctions regimes aimed

at inhibiting the proliferation of weapons of mass destruction in North Korea, the Court is sensitive

to the possibility that proceedings pursuant to CIPA may be necessary and extensive.

       Third, the volume and nature of the evidence weigh in favor of finding this case unusually

complex. According to the Government, documentary discovery in this matter encompasses more

than 26,000 pages, including foreign bank records and financial transactions. Gov’t’s Mot. at 2.

Jin’s prior counsel requested an ends-of-justice continuance after receiving just the first tranche of

this discovery because reviewing it with Jin “would be time-consuming given the volume of

discovery materials.” Min. Order (Oct. 8, 2024). Jin’s review of the discovery will be particularly



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time-consuming because he is presently detained and will likely be unable to access discovery

materials outside the physical presence of his attorney or his attorney’s representative. See United

States v. Salahmand, No. 08-cr-192, 2008 WL 11356766, at *2 (D.D.C. Oct. 30, 2008) (CKK)

(noting this issue). Aside from documentary evidence, this case will also involve recorded

statements from an undercover agent, expert testimony regarding the North Korean government

and U.S. sanctions regimes, and the testimony of foreign witnesses—some of whom the

Government anticipates deposing remotely pursuant to Federal Rule of Criminal Procedure 15.

See Gov’t’s Mot. at 2. The sheer volume and variety of the discovery and evidence in this matter

weighs in favor of finding this case unusual and complex and concluding that it is unreasonable to

expect adequate preparation for proceedings or for the trial itself without an ends-of-justice

continuance. 2

         Fourth, this complexity is exacerbated further by the prevalence of foreign languages in

this matter and Jin’s own need for English-to-Chinese interpretation. Courts in this Circuit and

elsewhere have considered the necessity of translation in applying Section 3161(h)(7)(B)(ii). See,

e.g., Rice, 746 F.3d at 1078 (holding a case where wiretapped conversation were in Spanish “was

sufficiently complex to justify the continuance”); United States v. Pargas-Rivas, 689 F. Supp. 2d

25, 28 (D.D.C. 2009) (RMC) (similar); United States v. Perez-Alcala, No. 12-20066, 2012 WL

2798797, at *1 (D. Kan. July 9, 2012) (noting that, even after the Government had translated

documents, “defense counsel will need an opportunity to review and determine the accuracy of



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  See United States v. Lopesierra-Gutierrez, 708 F.3d 193, 204 (D.C. Cir. 2013) (describing the need to access
“witnesses residing outside the United States” as a “perfectly adequate reason[]” for granting an ends-of-justice
continuance); United States v. Morrow, 102 F. Supp. 3d 232, 242 (D.D.C. 2015) (CKK) (discussing “possible expert
testimony on DNA, hair, fingerprint, and firearm analysis, and the possible testimony of lay witnesses from the banks,
as well as the number of potential witnesses at trial); Raymond, 656 F. Supp. 3d at 240 (noting “that a substantial
amount of evidence and witnesses reside abroad”); Salad, 779 F. Supp. 2d at 513 (recognizing the “logistical
difficulties” associated with the need “for counsel to seek information and evidence from outside the United States as
a result of the location of the crimes alleged”).

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said translations”); United States v. Yanez, No. 12-cr-199, 2012 WL 5987068, at *1 (N.D. Okla.

Nov. 29, 2012) (similar). In this case, Jin’s prior counsel cited “the need for translation” when

requesting an earlier ends-of-justice continuance. Min. Order (Oct. 8, 2024). And the Court

anticipates that the continuing need for translation, in combination with Jin’s detention, will render

pretrial proceedings in this matter unusually difficult.

        Finally, the Court recognizes Jin and his counsel’s representation that—notwithstanding

all the above—“Jin’s own assessment of the time he needs to prepare for trial” weighs against

granting the Government’s requested continuance. Def.’s Resp. at 5. The Court has carefully

considered Jin’s interest in proceeding to trial swiftly, the interest of the public in the swift

resolution of this matter, and the defense’s assessment of the necessary preparations. But the Court

is also mindful that the Government anticipates the continued provision of “additional discoverable

materials” to Jin “on a rolling basis.” Gov’t’s Mot. at 2 n.2. And the Court notes that Jin’s counsel

has already represented to the Court that he “anticipates [engaging in] significant pretrial briefing,”

which will undoubtedly divide the parties’ attention and hamper trial preparation. Min. Order

(Dec. 6, 2024). 3

        In light of the considerations described above, the Court concludes that this “case is so

unusual [and] so complex . . . that it is unreasonable to expect adequate preparation for pretrial

proceedings or for the trial itself within the time limits” ordinarily applicable under the Speedy

Trial Act. 18 U.S.C. § 3161(h)(7)(B)(ii). For that reason, the Court also concludes that the “ends

of justice served by” continuing pretrial proceedings and excluding Speedy Trial time “outweigh

the best interest of the public and the defendant in a speedy trial.” Id. § 3161(h)(7)(A). Finally,


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 Although the Speedy Trial Act automatically excludes periods of delay resulting from pretrial motions practice, see
18 U.S.C. § 3161(h)(1)(D), Courts also consider the expected volume of, and delay occasioned by, such motions
practice when weighing prospective tolling under Section 3161(h)(7)(B)(ii), see, e.g., Raymond, 656 F. Supp. 3d at
240–41; Warsame, 2007 WL 748281, at *4.

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considering the nature of the complexities inherent in this matter, the parties’ representations about

the scope of anticipated pretrial proceedings, and the Court’s experience with similarly complex

matters, the Court further concludes that an excludable continuance of 180 days is warranted under

the circumstances.

                                 III. CONCLUSION & ORDER
       Accordingly, it is, this 8th day of January 2025, hereby:

       ORDERED that the Government’s [33] Motion for Exclusion of Time Under the Speedy

Trial Act is GRANTED; and it is further

       ORDERED that Defendant Jin Guanghua’s Speedy Trial Act clock be tolled for a period

of 180 days, beginning from January 10, 2025 and continuing to July 9, 2025.

       Taking into account this continuance, the Court calculates that Jin’s new 70-day deadline

is September 17, 2025 and that Jin’s new 90-day deadline is October 7, 2025.

       SO ORDERED.


                                                             /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge




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